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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

IN RE TIKTOK, INC.,                        )
CONSUMER PRIVACY                           )       MDL No. 2948
LITIGATION                                 )
                                           )       Master Docket No. 20 C 4699
                                           )
This Document Relates to                   )
All Cases                                  )       Judge John Z. Lee
                                           )
                                           )       Magistrate Judge Sunil R. Harjani
                                           )

               AGENDA FOR FAIRNESS HEARING ON MAY 18, 2022

          The Court sets the following schedule for the Fairness Hearing, which is

scheduled for May 18, 2022, at 1:00 pm.


    I.      Motion for Final Approval of Class Action Settlement

            A. Class Counsel’s Presentation of Motion (15 Minutes)

            B. Objectors1

                  a. Steven Helfand (10 Minutes)

                  b. Mark S. (10 Minutes)

                  c. Dennis Litteken (10 Minutes)

                  d. Christina Travis (10 Minutes)

            C. Class Counsel’s Response to Objections (15 Minutes)

            D. TikTok’s Response to Objections (15 Minutes).

    II.     Class Counsel’s Motion for Attorney Fees, Expenses, and Service
            Awards

            A. Class Counsel’s Presentation of Motion (15 Minutes)

1       Jennifer Cochran filed an objection, but did not file a timely notice of intent to appear
at the fairness hearing as required by the Court’s order granting preliminary approval of the
settlement. See Order Granting Prelim. Approval, ECF No. 162 § 6.

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       B. Objections

             i. Glancy Prongay (10 Minutes)

             ii. Steven Helfand (10 Minutes)

            iii. Mark S. (10 Minutes)

            iv. Dennis Litteken (10 Minutes)

       C. Class Counsel’s Response to Objections (20 Minutes)

III.   Other Petitions for Attorneys’ Fees and Service Awards

       A. Dennis Litteken’s Petition for Service Award (5 Minutes)

       B. Mark S.’s Petition for Service Award (5 Minutes)

       C. Class Counsel’s Response to Petitions (10 Minutes)




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